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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 HUDSON EXCESS INSURANCE                          §
 COMPANY                                          §
    Plaintiff,                                    §
                                                  §
 vs.                                              §        C.A.NO. - - - - - - -
                                                  §
 GULF COAST ERECTORS                              §
 INCORPORATED AND                                 §
 CONSOLIDATED CRANE &                             §
 RIGGING, LLC                                     §
     Defendants.                                  §



                         PLAINTIFF'S ORIGINAL COMPLAINT

TO THE HONORABLE COURT:

       COMES NOW, HUDSON EXCESS INSURANCE COMPANY (sometimes referred

to as "Plaintiff' or "Hudson") and files its Original Complaint seeking a declaratory judgment

and would respectfully show as follows:

                                             I.
                                           Parties

        1.    Plaintiff Hudson Excess Insurance Company is an insurance company and

corporation incorporated under the laws of the State of Delaware with its principal place of

business in the State of New York.

        2.    Defendant Gulf Coast Erectors, Incorporated (sometimes referred to as

"Erectors") is a corporation organized under the laws of Texas with its principal place of

business in Texas at 5314 Spencer Highway, Pasadena, Harris County, Texas 77505. Erectors

may be served by serving its registered agent and President, David Parmer at his residence at




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1103 Briar Creek Drive, Friendswood, Texas 77546, or at the principal place of business of

Erectors at 5314 Spencer Highway, Pasadena, Texas 77505, or anywhere else he may be found.

       3.      Defendant Consolidated Crane & Rigging, LLC (sometimes referred to as

"Consolidated Crane") is a limited liability company organized under the laws of Texas with its

principal place of business at 6370 Long Drive, Houston, Texas 77087. Defendant may be

served by serving its registered agent Don Knight at 8100 Washington Avenue, #1000, Houston,

Texas 77007, at the principal place of business of Consolidated Crane at 6370 Long Drive,

Houston, Texas 77087, or anywhere else he may be found.

                                                II.
                                           Jurisdiction

       4.      This Court has jurisdiction pursuant to 28 U.S.C. § 1332 on the basis of diversity

of citizenship between the parties at the time of the filing of this Original Complaint. Also, the

amount in controversy, exclusive of court costs, exceeds $75,000.

                                               III.
                                              Venue

       5.      This Court has venue under 28 U.S.C. § 1391 in that Erectors has its principal

place of business in the Southern District of Texas, Houston Division, and the underlying lawsuit

giving rise to the controversy is filed in Harris County, Texas.

                                                IV.
                                     Declaratory Judgment

       6.      This is a suit in which Plaintiff Hudson seeks a declaratory judgment pursuant to

28 U.S.C. § 2201, et seq.




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                                                    v.
                                         Factual Background

        7.      Defendant Gulf Coast Erectors has been named as a Defendant in a lawsuit

pending under Cause No. 2019-81363; Consolidated Crane & Rigging, LLC v. Gulf Coast

Erectors Incorporated; In the 133 rd Judicial District Court of Harris County, Texas (the

"Underlying Lawsuit"). Consolidated Crane is the Plaintiff in the Underlying Lawsuit. A copy

of Plaintiff's Original Petition in the Underlying Lawsuit is attached hereto as Exhibit "1 ". The

Underlying Lawsuit arises :from the alleged contract for the lease of a crane, and the alleged total

loss of the crane while under the control of Gulf Coast Erectors, which the Underlying Lawsuit

alleges to have occurred on August 19, 2019 1 (the "Incident").

        8.      On October 16, 2019, Erectors sent notice to Hudson that a demand had been

asserted by Consolidated Crane. (See Exhibit "2") Hudson issued an Acknowledgment and then

sent a subsequent reservation of rights to deny coverage for the claim on November 19, 2019.

(See Exhibit "3") In that letter, Hudson expressly requested that the insured provide copies of

any lawsuit that were subsequently filed for which the named insured asserted coverage existed

under the Hudson Excess Policy discussed in the following Paragraphs 11 through 15.

        9.      On November 8, 2019, the Underlying Lawsuit was filed against Erectors.

Erectors failed to send notice of the Underlying Lawsuit to Hudson. Hudson first became aware

of the Underlying Lawsuit when Consolidated Crane served a Subpoena Duces tecum upon

Hudson through the Commissioner of Insurance on September 23, 2020. The Texas Department



1Plaintiff Hudson, in reciting in this Complaint the allegations of Plaintiffs Original Petition filed in the
Underlying Lawsuit and the effect when outlining/addressing the provisions of the insurance policy
discussed herein, does not waive, admit, or concede to any issue or matter alleged in the Underlying
Lawsuit. Any reference to the pleadings is not in any way intended to assert those alleged facts are true
or false, only what is alleged in the Petition.


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of Insurance sent it to Hudson on October 5, 2020 and the Subpoena was received by Hudson on

October 9, 2020. (See Exhibit "4")

       10.     In the Underlying Lawsuit, Consolidated Crane seeks damages from Erectors for

the alleged total loss of its crane, lost profits, attorney's fees and exemplary damages. It alleges

that Erectors was negligent, grossly negligent, and breached its contract with Consolidated

Crane. (See Ex. "1",    ,r,r   11,12 and 13) In addition, Consolidated Crane has asserted that it

qualifies as an "insured" under Erector's insurance. (See demand letter, Ex. "2".)

       11.     The Underlying Lawsuit alleges that at the time of the Incident, Erectors and

Consolidated Crane were parties to a Rental Contract, whose terms stated:

               THE CUSTOMER (Gulf Coast Erectors) TO HAVE CONTROL - THE
               CUSTOMER SHALL HAVE SOLE AND EXCLUSIVE CONTROL IN
               DIRECTING THE MANNER AND DETAILS OF THE WORK BEING
               PERFORMED BY THE COMPANY (Consolidated Crane) AND ALL
               PERSONNEL PROVIDED BY THE COMPANY. FURTHER, THE
               COMPANY SHALL NOT BE LIABLE FOR DAMAGE TO PERSON
               OR PROPERTY AS A RESULT OF ANY NEGLIGENCE OF THE
               CUSTOMER IN DIRECTING THE USE OF RENTAL EQUIPMENT.
               IT IS EXPRESSLY UNDERSTOOD AND AGREED BY THE
               CUSTOMER THAT AT ALL TIMES WHILE WORKING UNDER THE
               DIRECTION OF THE CUSTOMER, ANY OPERATOR OF THE
               RENTAL EQUIPMENT OR OTHER PERSONNEL PROVIDED BY
               THE COMPANY SHALL BE DEEMED AN EMPLOYEE OF THE
               CUSTOMER. IT IS FURTHER UNDERSTOOD THAT NO
               PERSONNEL, WHILE WORKING UNDER THE DIRECTION OF THE
               CUSTOMER SHALL BE CONSIDERED A BORROWED SERVANT
               OR EMPLOYEE OF THE COMPANY. (See Exhibit "1 ", Paragraph 8)


        12.    Hudson issued an excess policy of insurance to Erectors described below. In

October, 2019, when Hudson received the initial notice and request to defend against the

demand, Hudson was notified that the required underlying CGL coverage had allegedly been

canceled prior to the date of the Incident. Hudson asserts that neither Erectors nor Consolidated




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Crane is entitled to any coverage, nor to collect any judgment or settlement against Erectors from

Hudson.

                                                VI.
                                       Hudson's Excess Policy

        13.    Hudson Excess Insurance Company issued its Commercial Liability Excess

Policy No. HXS 1000712 02 to the named insured Gulf Coast Erectors, Inc. for the policy period

September 27, 2018 to September 27, 2019 (the "Excess Policy") See Exhibit "5". It provided a

limit of liability of $5 million per occurrence. The Excess Policy provided coverage for any

claim covered by the required underlying insurance, unless the terms and additional provisions of

the Excess Policy modified or excluded that coverage.               The Excess Policy's Schedule of

Underlying Insurance included a general liability policy shown to be issued by First Mercury

providing a $1 million per occurrence limit, and an auto liability policy with Employers Mutual

providing a $1 million single limit.

        14.    The Excess Policy defines "you" and "your" as the named insured, but "the word

'insured' means any person or organization qualified as such under the 'controlling underlying

insurance."' The terms "we", ''us" and "our" refer to Hudson.               The Excess Policy's main

insuring section states:


                 The insurance provided under thfs coverage Part will
                 follow the S311fle provisions, exdusions and limitations
                 that are contained in the applicable "controlJing
                 undertying insurance", unless othefWise, directed by
                 ltlis insurance. To u,e extent such proviSions differ or
                 conflict, ttie provisions of this Coverage Part wffll
                 apply. However, the coverage provided under this
                 Coverage Part will not be broader than that provided
                 b'f the applicable "controlling underlying insurance".




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                There may be more than one "con.trolling underlying
                insurance" listed in the Declarations and provisions in
                tnose policies conflict, and wtnich are not superseded
                by the provisions of this GO\ierage Part. In such a
                case, the provisions, exclusions and 'limitations of the
                "controlling underlying insurance" applicable to the
                particular "event" for. which a daJm is made or suit is
                brought will apply.


                         SECTION I - COVERAGES
                         1. Insuring Agreement
                            a. We will pay on behalf of the insured the
                               "ultimate net loss" in excess of the "retained
                               limit'' because of "injury or damage" to which
                               insurance provided under tlhis CO\ierage Part
                               applies.
                               We will have the right and clu1y to defend the
                               insured against any suit seeking damages for
                               such "injury or damage" when the applicable
                               limits of '"controlling underlying insuranat have
                               been exhausted in accordance with the
                               provisions of such "controlling ll"lderlyilg
                               insurance".




                           b. This insurance applies to "inj,urry or damage"
                              that is subject to an applicable "retafned limit".
                              if any other limit, such as, a sublimit, is
                              specified in the "controlling undefiying
                              insurance.., thi:s insurance does not apply to
                              "infmy or damage'" arising: oot of that exposure
                              unless that limit rs specified in the Dedarations
                              under the Schedufe of '"controlling u111def1ying
                              insurance"'.



The Limit of Insurance is defined in Section II, and "only applies in excess of the 'retained

limit"'. See Section II.2.a.

        15.    The obligations of Hudson and the named insured Erectors are further defined in

Section III - Conditions. It provides in pertinent part as follows:




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         7. Maintenance OffChanges To Control1in,g
            Underlying Insurance
            Af'IY "'controlling underlying insurance"' must be
            maintained in full effect without reduction of
            coverage or limHs exoept for tine reduction of
            aggregate limits in accordance 'wtth the provisions
            of such "controlling underlying insurance" that
            results from "injury or damage" to which this
            insurance applies,

         Such exhaustion or reduction is not a fai[ure to
         maintain "controlling underfying insurance". Failure
         to maintain "contromng underlying insurance"' will
         not invaJfdate insurance provided under tlhis
         Coverage Part, but insurance provided under tnis
         Coverage Part will apply as if the '"controlling
         unde11,iing i'nsurance" were in full effect.
         The first Named Insured must notify us in writing,
         as soon as practicable, if any "controlling
         undeflying insurance" is cancelled, not renewed,
         replaced or otherwise terninated, or: if the lirrrits or
         scope of coverage of any "controlling undeff/ing
         insurance" is changed.




       10.Loa Payable
           Uability under this Coverage Part does not apply
           to a given claim unless and until:
           a. The insured or insured's "controlling underlying
               lnsurefP has become obligaited to pay the
               "retained limit"; and'       ·
           b. The obligation of the ins,ured to pay the
               "uttimate net loss" In excess of the ••retained
               limit" has been determined by a final settlement
               or judgment or written agJeemeot among the
               insured, . clarrnan.1, 1'eontf0flin9 underlying
               insurer'' (or a representative of one or more of
               these-) and us.




 16.   The Excess Policy contains the following Definitions applicable to its provisions:


        SECTION fV- DEFINITIONS.
        The definiions applicalJle to any "conmroiling
        under1ying insurance" also apply to this insurance. In
        addmon, the following clelinilions apply_




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                 1. '"Controlling underlying insurance" means any
                    policy of insurance or self-insurance listed in tt1e
                    Dedarations under the Schedule of "con1rolling
                    underlying insurance".
                .2. ..Controlling unclerl:~ng insur,er'' means any insurer
                    ~m provides any policy of insurance Histed in the
                    Declarations under llhe Schedule of '"controlling
                    unden:ying insurance".
                 3. ''Evenf' means an occurrence, offense, accident,
                    act, or other event, to which the applicable
                    "controlling mderfying insurance" appJies.
                 4. "mjury or damage" means any injury or damage,
                     covered: in the applicable "'controlling underlying
                     insurance" alising from an '"event".
                 5. "Retained limit" rneans d'i8 available limits of
                    "'controlling undeflying insurance"' app'1icable to fine
                     daim.
                 6. "Ultimate net loss" means the total sum, after
                     reduction for recoveries, or saJ!lages collectible.
                    that the insured becomes legaJly obligated to pay
                    as damages by reason of:
                    a. SetUements, Jud9ments, binding amitration; or
                    b. Other .binding alternate dispu1e resolution
                         proceeding enterad into with our consent
                    ··ultimate net loss" includes defense expenses if
                    the "'cornrolling underMng insurance" ~pecifies
                    that limits are reduced by defense expenses.

      17.       The Excess Policy's insuring provisions are modified by the following

Endorsements:



                                        EXCLUSION - SUBLIMITS

                   This endorsement modifies insurance provided under the follow'ing:

                           COMMERCIAL EXCESS LIABILITY COVERAGE PART

                    Section I, Paragraph b. is deleted and rep~aced with the following:
                  This i11Surance applies to "injury or damage" that is subject to an applicable "retained limit.". If
                  any other limit, such as, a sublimit, is specified irr the "controlling underlying insurance", this
                  insurance does not apply to "injury or damage'" arising out of that exposure unless a specific
                  endorsement is issued with this policy.
                  All other terms and conditions remain unchanged.




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                               EXCLUSION - CROSS SUITS
        This endorsement modifies insurance provided under the following:

                COMMERCIAL EXCESS LIABILITY COVERAGE PART

            Section I. Coverages, 2. Exclusions is amended and the following added:
         Insurance provided under this coverage part does not apply to 8 injury or damage" or any other claim
         for damages initiated, alleged or caused, in whole or in part, that is brought about by any Insured, its
         emproyees or Additional Insured covered by this policy, against any other Insured, its employees or
         Additional Insured.
         With respect to this exclusion, we shall have no duty or obligation under this Insurance to defend,
         respond to, investigate or indemnify any Insured party for any such claim, demand or suit. We shall
         have no obligation to repay any person or orgariization who must pay any loss, cost or expense.
         All other terms and conditions of this policy remain unchanged




          CONTRACTORS AMENDATORY ENDORSEME.NT
       This endorsement modifies insurance provided under the following:

          COMMERCIAL EXCESS LIABILllY COVERAGE PART

       The following exclusions are added to 2. Exclusions:
        2. This insurance does not provide coverage for "iniurv or damage" to property which is owned by
        xou, transported by \'OU and/or in your care, custody or control. This exclusion applies even if the
         controlling underlying insurance" provides coverage for such "injury or damage"




                     EXCLUSION - SPECIFIED OPERATIONS EXCLUSION
         This endorsement modifies insurance provided under the following:

                 COMMERCIAL EXCESS LIABlLITY COVERAGE PART

                                                          SCHEDULE

            Description of Operations:         Location of Operations:                            Date Added:
            Operation and Rental of                                                               09/27/2018
            Tower Cranes By or On Behalf
            of the Insured
                Section I. Coveragest 2. Exclusions is amended and the foUowing added:




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                Insurance prov,ided under this coverage part does not apply to "injury or damage'' resulting
                from operations descrtbed in the schedule above. This exclusion applies regardless of whether
                such operations are conducted by y-ou or on your behalf.

                Unless a "'location'•' is specified in the Schedule above, this exclusion applies regardless of where
                such operations are conducted. If there is a specified location listed in the schedule above, this
                exdusion will apply only to the described ongoing operations that are conducted at that
                "location"'.
                For the purposes of this endorsement, the word "'location" means premises on the same or
                connecting lots, or premises whose connection is interrupted only by a waterway, street or
                right-of-way of a railroad.
                 All other terms and conditions of this policy remain unchanged


                                             VII.
                                The Mercury Primary CGL Policy

       18.    First Mercury Insurance Company (sometimes referred to as "First Mercury")

issued its CGL Policy No. TX-CGL-0000074337-02 to the named insured Gulf Coast Erectors,

Inc. for the stated policy period of September 27, 2018 to September 27, 2019 (the "Primary

Policy"). (See Exhibit "6") The Primary Policy provided a limit of liability of $1 million per

occurrence, subject to a general aggregate of $2 million, and is listed on the schedule of

Underlying Coverage on the Hudson Excess Policy.

       19.    The Primary Policy provided 2006 ISO Form Commercial General Liability

Coverage with the insurer agreeing to ''pay those sums that the insured becomes legally obligated

to pay as damages because of. .. property damage ... " where the coverage applies. It conferred

upon First Mercury "the right and duty to defend the insured against any suit seeking those

damages." The defense obligation did not apply where there was no coverage, and would end

upon exhaustion of the policy limit paid toward judgments or settlements. In order for the

insurance to apply, the property damage had to occur "during the policy period". (See I.1.b.(2))

       20.     The insuring provisions of the First Mercury policy are subject to the following

general exclusions:

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              b.     Contractual Liability

                     "Bodily injury" or "property damage" for which the insured is
                     obligated to pay damages by reason of the assumption of liability
                     in a contract or agreement. This exclusion does not apply to
                     liability for damages:

                     (1)    That the insured would have in the absence of the contract
                            or agreement; or

                     (2)    Assumed in contract or agreement that is an "insured
                            contract" provided the ''bodily injury" or "property
                            damage" occurs subsequent to the execution of the contract
                            or agreement. Solely for the purposes of liability assumed
                            in an "insured contract", reasonable attorney fees and
                            necessary litigation expenses incurred by or for a part other
                            than an insured are deemed to be damages because of
                            "bodily injury" or "property damage" provided:

                            (a)    Liability to such party for, or for the cost of, that
                                   party's defense has also been assumed in the same
                                   "insured contract"; and

                            (b)     Such attorney fees and litigation expenses are for
                                    defense of that party against a civil or alternative
                                    dispute resolution proceeding in which damages to
                                    which this insurance applies are alleged.



              j.     Damage To Property

                     'Property damage' to:



                     (4)    Personal property in the care, custody or control of the
                            insured." (Replaced by Endorsement)

       21.    Pursuant to the Supplementary Payments, First Mercury agreed to pay "with

respect to any claim we investigate or settle or any suit against an insured we defend ... all



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expenses we incur .... " First Mercury further agreed that such expenses would be in addition to

the limit and do not erode the limit.

       22.     The insuring provisions of the First Mercury policy are also subject to the

following Endorsements:


                             "POLICY DEDUCTIBLE ENDORSEMENT



               B.      Your policy may have a deductible amount on either a per claim, a
                       per 'occurrence,' or a per injury basis. Your deductible applies to
                       the coverage option and to the basis of the deductible indicated by
                       the placement of the deductible amount in the Schedule above.
                       The deductible amount stated in the Schedule above applies as
                       follows:

                                        (Coverage A - Per Claim - $5000)

                       1.      PER CLAIM BASIS. If the deductible amount indicated
                               in the Schedule above is on a per claim basis, that
                               deductible applies as follows:



                               d.         Under Supplementary Payments - Coverages A and
                                          B, to all amounts we pay in the defense and
                                          investigation of any claim or 'suit' to which this
                                          insurance applies.

                C.     The terms of this insurance, including those with respect to:

                        1.     Our right and duty to defend the insured against any 'suits'
                               seeking those damages; and

                        2.     Your duties in the event of an 'occurrence,' claim, or 'suit'

                        apply irrespective of the application of the deductible amount.



                             ON HOOK- CARE, CUSTODY, CONTROL
                                AMENDATORY ENDORSEMENT

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              It is agreed that SECTION I - COVERAGES, COVERAGE A
              PROPERTY DAMAGE LIABILITY, 2. EXCLUSIONS j.(4) is deleted
              and replaced with the following:

              Property damage to personal property in the care, custody or control of the
              insured is excluded except when the insured is hoisting, raising, lowering,
              or moving personal property of others with equipment that is owned, .
              rented or leased to the insured.

              With respect to coverage provided by this endorsement it is also agreed
              that SECTION III - LIMITS OF INSURANCE are amended and the
              following added:

              The most we will pay under COVERAGE A PROPERTY DAMAGE
              LLIABILITY for claims made against you for property damage to
              personal property in the care, custody or control of the insured are subject
              to the following limits of liability and deductible:

                             Each Occurrence Limit:        $250,000

                             Aggregate Limit               $500,000

                             Deductible                    $5,000



              The aggregate limit is the most we will pay under this endorsement as
              damages because of 'property damage' to personal property in the care,
              custody or control of the insured, and expenses incurred in the defense and
              adjustment of claims and 'suits' alleging damages to personal property in
              the care custody or control of the insured/

                                         VIII.
                           Controversv And Declarations Sought

       23.    Incorporating the foregoing allegations by reference, Hudson would show that an

actual controversy exists regarding its obligations, if any, to Erectors and/or to Consolidated

Crane in respect of the Underlying Lawsuit.




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A.     Hudson Owes No Dutv To
       Defend Under Its Excess Policy

       24.     Plaintiff Hudson seeks a declaration from this Court that it has no duty or

obligation under the Excess Policy to provide, or to pay costs of, a defense to Gulf Coast

Erectors Incorporated in the Underlying Lawsuit.

       25.     Specifically, the Underlying Lawsuit alleges that the crane was used by Erectors

at a construction site and that while under the "direction and control of Defendant Erectors", the

crane was used to perform a lift and placement of personal property which ultimately fell onto

the crane. See Exhibit "l ".

       26.     Hudson would show that the allegations of the Underlying Lawsuit trigger the

Primary Policy Endorsement providing coverage and a sublimit for personal property in the

control of the named insured while the named insured was hoisting or moving personal property

of others with equipment rented to the insured. (See Exhibit "6", "On Hook" endorsement) The

Endorsement was an exception, and replaced the general exclusion for property damage to

personal property in the care, custody or control of the insured. Id., Exclusionj.4. The Hudson

Excess Policy did not allow any sublimit, and expressly excluded coverage for any claim subject

to a sublimit in the underlying coverage. (See Exhibit "5", Sublimits endorsement)

       27.     Hudson would show that the allegations of the Underlying Lawsuit trigger the

Excess Policy's Exclusion for claims for property in the named insured's "care, custody or

control." (See Exhibit "5", Contractor Amendatory Endorsement #2) The Excess Policy terms

govern over the terms of any underlying policy where they conflict and may exclude coverage

even if the "controlling underlying insurance" provides coverage for such "injury or damage".

The Underlying Lawsuit alleges custody and control of the crane on the part of the named

insured Erectors, and the lifting of personal property as the named insured' s alleged conduct at

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the work site. These alleged activities trigger the Excess Policy's Sublimit, and its Contractor

exclusions. Id.

       28.        Defendant Consolidated Crane has asserted that it was an additional insured under

the underlying coverage by virtue of its contract with Erectors. In the event Consolidated Crane

is deemed to qualify as an insured under the First Mercury policy, it would also be deemed to

qualify as an "insured" under the Excess Policy. In that event, the Exclusion - Cross Suits

endorsement of the Excess Policy, which applies to claims for damage by one insured or

additional insured against another insured or additional insured, would be triggered, and would

exclude any coverage for such claim. (See Exhibit "5", Exclusion- Cross Suits endorsement)

       29.        Without waiving the foregoing, Hudson would show that its Excess Policy

imposes no obligation to defend, or pay defense costs where those costs should have been born

by the required scheduled underlying coverage. Only after the required underlying policy, or the

insured (if the required coverage does not exist), has paid the full limit of $1 million in

settlement or toward a judgment for a covered claim, are Hudson's obligations to begin paying

any defense costs, or any indemnity, finally triggered. Pursuant to the Excess Policy Conditions,

in the event the named insured failed to maintain the full coverage and limit required for the

controlling underlying insurance, the insurance provided by the Excess Policy "will apply as if

the 'controlling underlying insurance' were in full effect". (See Exhibit "5", Section III, 7) The

First Mercury Primary Policy had a duty to defend that was in addition to the limit.

       30.        Hudson would show that its Excess Policy imposes no obligation to defend any

lawsuit, such as the Underlying Lawsuit, the required underlying First Mercury policy was

required to provide a defense. The named insured assumes those obligations to defend such

lawsuit if it fails to maintain such underlying coverage. If the Primary Policy does not have


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coverage due to reasons other than early cancellation, Hudson would show that its Excess Policy

imposes no obligation to defend, regardless of the additional Excess Policy exclusions.

B.     Plaintiff Hudson Owes No Duty To Defend Erectors
       Or Indemnify Erectors Or Consolidated Crane For Any
       Settlement Or Judgment Related To The Underlying Lawsuit

       31.     In addition, Plaintiff Hudson seeks a declaration from this Court that it has no

obligation under the Excess Policy to defend Erectors, or to indemnify Erectors or Consolidated

Crane for any damages that may be awarded in the Underlying Lawsuit. The allegations of the

Underlying Lawsuit plainly fail to trigger any obligation under the Excess Policy to provide or

pay for, a defense of the claim or indemnity for the alleged damages. The Underlying Lawsuit

alleges facts that expressly trigger Exclusions contained in the Excess Policy, such as the

Exclusion - Sublimits, the Contractors Amendatory Endorsement #2 Exclusion, and, potentially,

the Exclusion - Cross Suits.

       32.     Hudson seeks a declaration from this Court that it has no obligation under the

Excess Policy to defend or indemnify Erectors for any damages awarded in favor of

Consolidated Crane or any other party against Erectors for any property damage to the crane

leased to Erectors and used by it in its operations. In the alternative, Hudson seeks a declaration

that its Excess Policy imposes no obligation to defend until the underlying insurer, or the insured

if it failed to maintain such underlying insurance, has paid the sum of $1,000,000 toward the

settlement of, or adverse judgment in, the Underlying Lawsuit.

C.     Plaintiff Hudson Owes No Duty To Defend
       Or Indemnify Under The Excess Policy If This
       Claim Arises Out Of The Use Of A Tower Crane

       33.     Without waiving the foregoing, Plaintiff Hudson seeks a declaration from this

Court that, if the operation alleged in the Underlying Lawsuit is deemed to include the use of a


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tower crane, or if the damage alleged in the Underlying Lawsuit is deemed to be to a tower

crane, Hudson requests a declaration from this Court that it has no obligation to defend, or to

indemnify, the insured for the Underlying Lawsuit.         Hudson seeks a declaration that the

Exclusion/Specified Operations Exclusions in the Excess Policy apply to such damages, as they

arise out of "operation and rental of tower cranes by or on behalf of the insured" "whether such

operations are conducted by you or on your behalf'. See Exhibit "5" - Exclusion - Specified

Operations Exclusion.

                                             IX.
                                    Request For Judgment

       34.     In summary, Hudson Excess Insurance Company seeks a declaration from this

Court that it has no duty or obligation under the Excess Policy to provide a defense to Erectors in

the Underlying Lawsuit.     The allegations of the Underlying Lawsuit trigger one or more

provisions of the Excess Policy, and relieve Hudson of any obligation to provide any coverage

for the claim. In addition, because the allegations of the Underlying Lawsuit seek damages

which are excluded by the Excess Policy, Hudson seeks a declaration from the Court that it has

no duty or obligation under the Excess Policy to indemnify Defendant Gulf Coast Erectors for

any settlement, or for any adverse judgment, arising from the Underlying Lawsuit. Further,

Plaintiff Hudson seeks a declaration that it has no duty to pay Consolidated Crane for any

damages, attorney's fees or costs awarded to it for any judgment in the Underlying Lawsuit. In

the alternative, Hudson requests a declaration that it has no present duty to defend Erectors, and

has no duty to pay for any defense, or any settlement or judgment unless and until the sum of

$1,000,000 has been paid by or for Erectors in a settlement, or by satisfaction of an adverse

judgment in the Underlying Lawsuit.




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       WHEREFORE, PREMISES CONSIDERED, Hudson Excess Insurance Company

prays that Defendant Gulf Coast Erectors Incorporated and Defendant Consolidated Crane &

Rigging, LLC be served with process and upon final trial and determination hereof, this Court

render a declaratory judgment in favor of Plaintiff Hudson Excess Insurance Company as

requested above, and award Plaintiff Hudson Excess Insurance Company judgment that it has no

liability to either Defendant for the claims asserted in the Underlying Lawsuit, and for such other

and further relief, at law or in equity, to which it may show itself justly entitled.

                                                    Respectfully submitted,



                                                    By_ __ /_s/_K_en_E_.K_en~dri~·c_k_ _ _ __ _
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